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 9
10
11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13                              SOUTHERN DIVISION
14
      MEDTRONIC, INC.; MEDTRONIC                   Case No. 8:19-cv-02115-DOC-JDE
15    PUERTO RICO OPERATIONS CO.;
      MEDTRONIC LOGISTICS, LLC;                    DEFENDANT AXONICS, INC.’S
16
      MEDTRONIC USA, INC.,                         RESPONSE TO PLAINTIFFS’
17                                                 STATEMENT OF GENUINE
            Plaintiffs,                            DISPUTES OF MATERIAL
18
                                                   FACTS AND REPLY TO
19          v.
                                                   PLAINTIFFS’ STATEMENT OF
20                                                 ADDITIONAL MATERIAL
      AXONICS MODULATION
                                                   FACTS
21    TECHNOLOGIES, INC.,

22          Defendant.                             Date: June 24, 2024
                                                   Time: 8:30 a.m.
23                                                 Ctrm: 10A
24                                                 Judge: Hon. David O. Carter

25                        REDACTED VERSION OF DOCUMENT
26                        PROPOSED TO BE FILED UNDER SEAL

27
28
      AXONICS’ REPLY TO MEDTRONIC’S                   Case No. 8:19-cv-02115-DOC-JDE
      STATEMENT OF ADDITIONAL FACTS
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 1           Axonics’ Undisputed Facts and                Medtronic’s Response to Cited Fact
                 Supporting Evidence                          and Supporting Evidence
 2
             power source.” This limitation was         internal power source.” Exhibit 1, to the
 3           replaced by amendment to overcome          Declaration of Brian Nisbet (“Nisbet
 4           prior art with “thereby generating a       Decl.”), (MDT-00000001, at MDT-
             current through said internal power        00000057). Medtronic does not dispute
 5
             source.”                                   that the applicant amended the limitation
 6     Evidence: Ex. 45, July 6, 2008, and              “thereby generating a current associated
       August 6, 2008, Amendment, 069 Patent            with said internal power source” to
 7
       File History at MDT-00000408, MDT-               “thereby generating a current through said
 8     00000426.                                        internal power source.” Nisbet Decl., Ex.
                                                        1 (MDT-00000408). Medtronic asserts
 9
                                                        that this amendment was made to
10                                                      overcome a reference cited by the
                                                        examiner in which alignment is reported
11
                                                        based on a current in the external
12                                                      charger. Nisbet Decl., Ex. 1 (MDT-
                                                        00000426).
13
14      2. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
        Medtronic does not dispute that the original claims stated “thereby generating a
15      current associated with said internal power source.” Medtronic also does not dispute
16      that the claims were amended to replace the preceding quote with “thereby generating
        a current through said internal power source.” Medtronic also does not dispute that the
17      amendment was made to overcome prior art, i.e., as Medtronic describes it, “a
18      reference cited by the examiner.”
19      3.    On July 8, 2008, Medtronic told the Undisputed.
20            Patent Office that the
              “[i]ndependent claims have been
21            amended solely to clarify the
22            language of the current rather than
              being ‘associated with’ the internal
23            power source to the more definite
24            ‘through’ the internal power
              source.”
25
       Evidence: Ex. 45, July 6, 2008
26     Amendment, 069 Patent File History at
27     MDT-00000412.

28
      AXONICS’ REPLY TO MEDTRONIC’S                 2          Case No. 8:19-cv-02115-DOC-JDE
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 1          Axonics’ Undisputed Facts and                Medtronic’s Response to Cited Fact
                Supporting Evidence                          and Supporting Evidence
 2
 3     4.    On August 6, 2008, Medtronic told         Undisputed.
             the Patent Office that: “Claims 1
 4           and 21 have been amended to
 5           clarify the claims by reciting that
             the current of which the alignment
 6           is a function is the current that
 7           passes through the internal power
             source.”
 8
       Evidence: Ex. 45, July 6, 2008 and
 9     August 6, 2008, Amendment, 069 Patent
10     File History at MDT-00000430.

11     5.    On January 7, 2009, Medtronic             Disputed. Medtronic does not dispute that
             amended the claims to overcome            on January 7, 2009, pending independent
12
             the same prior art with the               claims 1 and 21 were amended to recite
13           measuring limitation: “measuring          “measuring said current and reporting said
             said current and reporting said           alignment based on said current.” Nisbet
14
             alignment based on said current.”         Decl., Ex. 1 (MDT-00000452, 454).
15           Medtronic relied on these                 Medtronic does not dispute that the
16           amendments to overcome the prior          applicant included the statement “Wang et
             art: “Wang et al ’693 does not            al ’693 does not show, disclose or suggest,
17           show, disclose or suggest, and in         and in fact teaches away from reporting
18           fact teaches away from reporting          the alignment of the primary and
             the alignment of the primary and          secondary coils by measuring and
19           secondary coils by measuring and          reporting alignment based on current
20           reporting alignment based on              through the internal power source.
             current through the internal power        Instead, Wang et al ’693 specifically
21           source.”                                  discloses measuring the current through
22     Evidence: Ex. 45, Jan. 7, 2009,                 the external power source.” Nisbet Decl.,
       Amendment, 069 Patent File History at           Ex. 1 (MDT-00000456). Medtronic
23                                                     disputes the other attorney arguments in
       MDT-00000452, 454, 456-457.
24                                                     Axonics statement regarding
                                                       “amendments to overcome the prior art”
25                                                     and refers to its response in Medtronic’s
26                                                     Opposition to Axonics Motion for
                                                       Summary Judgment.
27
       5. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
28
      AXONICS’ REPLY TO MEDTRONIC’S                3          Case No. 8:19-cv-02115-DOC-JDE
      STATEMENT OF ADDITIONAL FACTS
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 1          Axonics’ Undisputed Facts and               Medtronic’s Response to Cited Fact
                Supporting Evidence                         and Supporting Evidence
 2
       16, 305:12-14.
 3
 4     7. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
       Medtronic admits that this fact is undisputed. Axonics does not agree that it infringes
 5     for the reasons stated, but the fact relates only to Medtronic’s theory of infringement.
 6     Medtronic does not dispute the fact as to its infringement theory, and has confirmed it.
       While Medtronic includes additional language confirming portions of the text of this
 7     fact, Medtronic raises no dispute with any portion of this fact, and so it is undisputed.
 8     Medtronic also does not dispute the quote from Dr. Mihran’s deposition: “Q.
                                                              A. Yes.”
 9
       8.    Medtronic has identified no reason       Disputed. Axonics has never raised
10
             why Prosecution History Estoppel         prosecution history estoppel as a non-
11           should not apply.                        infringement argument or as a claim
       Evidence: Ex. 44, Irazoqui Rebuttal Rpt.       construction argument during fact
12
       ¶¶ 461-473; Ex. 9, Mihran Rpt. ¶¶ 1097-        discovery. The first time Axonics raised
13                                                    this argument is in its rebuttal expert
       1123.
14                                                    report on non-infringement. See Nisbet
                                                      Decl., Ex. 8 (Rebuttal Expert Report of
15                                                    Dr. Pedro Irazoqui (December 18, 2022)
16                                                    at ¶¶ 461–473. Medtronic disputes that
                                                      prosecution history estoppel applies in the
17                                                    manner Axonics belatedly argues as part
18                                                    of its motion for summary judgment.

19     8. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
       Medtronic alleges that the first time Axonics raised prosecution history estoppel was in
20     its rebuttal expert report on non-infringement. Medtronic’s first basis for dispute is
21     simply not true, is untimely raised, and is not a fact that precludes summary
       judgement.
22
       Axonics provided contentions related to prosecution history estoppel in an
23     interrogatory response that Medtronic did not address. Ex. 74, at 72-73, 76-80, 83-86,
24     90, 95-97. The dates on that interrogatory response confirm that it was initially served
       and supplemented during fact discovery. Axonics directed Medtronic to this
25     interrogatory response in Axonics’ original reply to its summary judgment motion,
26     filed in February 2023. Dkt. 251-1 at 1 n.2. Medtronic does not address Axonics
       interrogatory response, and Axonics’ interrogatory response confirms Medtronic’s
27     allegations are not true. There is no basis to deny summary judgment based on
28
      AXONICS’ REPLY TO MEDTRONIC’S               6          Case No. 8:19-cv-02115-DOC-JDE
      STATEMENT OF ADDITIONAL FACTS
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 1           Axonics’ Undisputed Facts and                 Medtronic’s Response to Cited Fact
                 Supporting Evidence                           and Supporting Evidence
 2
       Medtronic’s incorrect and unsupported allegations.
 3
       Moreover, Medtronic’s argument is untimely. Medtronic admits that it has had
 4     Axonics’ expert report that also addresses prosecution history estoppel since
 5     December 2022. Medtronic never sought to strike the opinions of Axonics’ expert as
       being untimely. Medtronic has no basis to now oppose summary judgment on this
 6     basis, and summary judgment cannot be denied on this basis.
 7     While Medtronic asserts that it disputes that prosecution history estoppel applies in the
 8     manner Axonics argues, it provides no factual basis for that allegation, nor even an
       explanation of it. Medtronic provides no basis to deny summary judgment.
 9
       9.     Medtronic only alleges               Undisputed.
10
              infringement of the remaining
11            asserted claim 7 from the 069
              Patent under the doctrine of
12
              equivalents, and Medtronic’s expert
13            Dr. Mihran relies on the doctrine of
              equivalents for the limitation
14
              “measuring said current,” “said
15            current” being the current through
16            the battery (“current through said
              internal power source”).
17
       Evidence: Ex. 9 Mihran Rpt., ¶¶ 43, 1103,
18     p. 454.
19     10.    The literal language of 069 Patent         Undisputed.
20            claim 5, as incorporated in claim 7,
              requires measuring the current
21            through the implant battery.
22     Evidence: Ex. 43 (069 Patent), Claims 5-
23     7.

24     11.     Medtronic argued the prior art            Undisputed that the applicant included
              “does not show, disclose or                the statement “Wang et al ’693 does not
25
              suggest, and in fact teaches away          show, disclose or suggest, and in fact
26            from reporting the alignment of the        teaches away from reporting the
              primary and secondary coils by             alignment of the primary and secondary
27
              measuring and reporting alignment          coils by measuring and reporting
28
      AXONICS’ REPLY TO MEDTRONIC’S                  7          Case No. 8:19-cv-02115-DOC-JDE
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 1           Axonics’ Undisputed Facts and             Medtronic’s Response to Cited Fact
                 Supporting Evidence                       and Supporting Evidence
 2
              based on current through the           alignment based on current through the
 3
              internal power source.”                internal power source. Instead, Wang et al
 4     Evidence: Ex. 45, Jan. 7, 2009,               ’693 specifically discloses measuring the
       Amendment, 069 Patent File History at         current through the external power
 5
       MDT-00000451-461 at 452, 454, 456.            source.” Nisbet Decl., Ex. 1 (MDT-
 6                                                   00000456).
 7     11. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
 8     Medtronic admits that this fact is undisputed. While Medtronic includes additional
       language confirming portions of the text of this fact, Medtronic raises no dispute with
 9     any portion of this fact, and so it is undisputed. Medtronic does not dispute that the
10     Wang prior art states “does not show, disclose or suggest, and in fact teaches away
       from reporting the alignment of the primary and secondary coils by measuring and
11     reporting alignment based on current through the internal power source.” The
12     additional language that Medtronic included does not create a genuine dispute of
       material fact that precludes summary judgment.
13
14
15           Axonics’ Undisputed Facts and             Medtronic’s Response to Cited Fact
16               Supporting Evidence                       and Supporting Evidence

17     12.     [Intentionally Omitted]               [Intentionally Omitted]
18     13.     [Intentionally Omitted]               [Intentionally Omitted]
19
       14.     [Intentionally Omitted]               [Intentionally Omitted]
20
       15.     [Intentionally Omitted]               [Intentionally Omitted]
21
22     16.     [Intentionally Omitted]               [Intentionally Omitted]

23     17.     [Intentionally Omitted]               [Intentionally Omitted]
24     18.     [Intentionally Omitted]               [Intentionally Omitted]
25
       19.     [Intentionally Omitted]               [Intentionally Omitted]
26
       20.     [Intentionally Omitted]               [Intentionally Omitted]
27
       21.     [Intentionally Omitted]               [Intentionally Omitted]
28
      AXONICS’ REPLY TO MEDTRONIC’S              8          Case No. 8:19-cv-02115-DOC-JDE
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 1            Axonics’ Undisputed Facts and              Medtronic’s Response to Cited Fact
                  Supporting Evidence                        and Supporting Evidence
 2
                                                       that a temperature can be measured in
 3                                                     degrees, but Medtronic disputes that a
 4                                                     temperature must be measured in degrees.
 5                                                     Dkt No. 163 (SM R&R re Claim
                                                       Construction) at 38–39.
 6
 7      33. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
        Medtronic identifies no evidence in the asserted patents or anywhere else to support its
 8      argument—contrary to elementary scientific knowledge—that temperature may be
 9      measured in something other than degrees. Medtronic identifies no other unit in which
        temperature is measured, and Medtronic’s own expert described temperature in
10      degrees, as is shown in the deposition testimony Axonics cites. Medtronic identifies no
11      evidence showing and provides no explanation for asserting that temperature can be
        measured in any unit other than degrees. Additionally, finding this fact is not
12      necessary to granting Axonics’ motion. Medtronic raises no genuine dispute of
13      material fact that precludes summary judgment.

14      34.    Heat is measured in joules of           Disputed in that material facts have been
               energy.                                 omitted from Axonics’ statement. Axonics
15
        Evidence: Ex. 13, Mihran Dep. at 70:21-        statement refers to a patent claim term –
16      71:2; 71:22-73:2.                              “heat” – in the asserted ’112 patent
                                                       without citing any support in the intrinsic
17
                                                       record of the patent for its statements. In
18                                                     general, Medtronic does not dispute that
                                                       heat can be measured in joules of energy,
19
                                                       but Medtronic disputes that a heat must be
20                                                     measured in joules of energy.
21                                                     See, e.g., Nisbet Decl., Ex. 5 (Mihran
                                                       Dep. Tr., 89:17–90:21).
22
23      34. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
        Medtronic identifies no evidence in the asserted patents or anywhere else to support its
24      argument—contrary to elementary scientific knowledge—that heat may be measured
25      in something other than joules. Medtronic identifies no other unit in which heat is
        measured, and Medtronic’s own expert described heat in joules, as is shown in the
26      deposition testimony Axonics cites. Medtronic identifies no evidence showing and
27      provides no explanation for asserting that heat can be measured in any unit other than
        joules. Additionally, finding this fact is not necessary to granting Axonics’ motion.
28
       AXONICS’ REPLY TO MEDTRONIC’S              18          Case No. 8:19-cv-02115-DOC-JDE
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 1            Axonics’ Undisputed Facts and                 Medtronic’s Response to Cited Fact
                  Supporting Evidence                           and Supporting Evidence
 2
        2, 10–12, and 18–24; Ex. 55 (756 Patent)
 3      at Claims 14, 18.
 4
        42.    During claim construction briefing         Disputed. Medtronic cited and relied
 5             and at the claim construction              upon the dictionary definitions of
 6             hearing, Medtronic contended that          “element” and “portion,” and their
               “element” and “portion” were               definitions as supporting that the
 7             synonyms, and would mean “part             “disputed term [plurality of tine elements]
 8             of a whole” to a person of ordinary        does not require separate structures.” Dkt.
               skill in the art.                          No. 115 at 6. These dictionary definitions
 9                                                        were relied upon in the context of the
        Evidence: Dkt. No. 115 at 6, n.5; Ex. 1
10      (Medtronic Claim Construction Hearing             argument that “‘Element’ does not
        slides) at 14.                                    indicate separate structure…” Dkt. 358-1
11                                                        (Medtronic Claim Construction Hearing
12                                                        slides) at 14.
13      42. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
14      Medtronic does not dispute that it contended these terms to be both synonymous and
        mean “part of a whole” to a person of ordinary skill. Medtronic cited and relied upon
15      the dictionary definitions of “element” and “portion” for this exact purpose. Dkt. No.
16      115 at 6, n.5 (“Contemporaneous dictionaries define ‘element’ as ‘a part of a whole,’
        which as used in the context of the tined lead patents is synonymous with ‘portion.’”).
17      That Medtronic did so with the intent to support its argument during claim
18      construction does not change that it made these contentions or place that fact into
        dispute.
19
        43.    At the claim construction hearing,         Disputed to the extent that the quote is
20             Medtronic told the Special Master          incomplete and was made in the context
21             that, with respect to “element” and        of the parties’ claim construction dispute
               “portion,” “[t]here’s no indication        and Medtronic’s argument that “there is
22
               that anything other than the               no reference to ‘structure’…” Nisbet
23             ordinary use of the term would be          Decl., Ex. 4 (9/7/22 Claim Construction
               relevant here.”                            Hr’g Tr.) at 42:20–24.
24
        Evidence: Ex. 2 (Claim Construction
25      Hearing Transcript) at 42:18-20.
26
        43. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact.
27      Medtronic does not dispute that it made these contentions to the Special Master at the
28      claim construction hearing. That Medtronic did so within the context of its argument
       AXONICS’ REPLY TO MEDTRONIC’S                 26           Case No. 8:19-cv-02115-DOC-JDE
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 1            Axonics’ Undisputed Facts and             Medtronic’s Response to Cited Fact
                  Supporting Evidence                       and Supporting Evidence
 2
        during claim construction does not change that it made these contentions or placed that
 3      fact into dispute. The additional context Medtronic cites, in which their counsel stated
 4      “there is no reference to ‘structure’ there” (Ex. 2 (Claim Construction Hearing
        Transcript) at 42:23), affirms that Medtronic argued to the Court that only the
 5
        “ordinary use” of the term “element” was relevant and denied that its proposed
 6      construction requires a particular structure, a position which it now contradicts by
        asserting a tine element must encircle the lead. There is no dispute of this fact.
 7
 8      44.    One of ordinary skill in the art       Disputed. Dr. Chai testified based on his
               applying the meaning of “portion”      analysis that “there would not be 16
 9             and “element” advanced by              portions or parts,” expressly disagreeing
10             Medtronic and adopted by the           with “another person [who] could look at
               Special Master in his construction     it and say there would be 16 tined
11             of a “plurality of tine elements” to   elements.” Nisbet Decl., Ex. 19, (1/8/2023
12             the Axonics helical tine structure     Chai Dep. Tr. at 170:5-24; see also id.
               could reasonably come to different     195:11–199:2 (“I see three elements based
13             conclusions concerning the number      on my analysis.”)) Dr. Chai rejected
14             of “tine elements” it had, including   Axonics’ counsel’s presumption “that
               that it has sixteen tine elements,     different persons of ordinary skill might
15             each comprising one tine.              come up with different answers in
16      Evidence: Ex. 4 (1/8/23 Chai Depo.) at        applying the Special Master’s
        170:5-24; id. at 195:11-23.                   construction” stating that he “believe[s]
17                                                    that everybody who gets asked with these
18                                                    set of definitions would come up with a
                                                      similar analysis.” Id. at 198:6–18.
19
20      44. Axonics Response: Medtronic fails to raise a genuine dispute as to this fact. The
        testimony Medtronic has identified by its expert does not dispute that one of ordinary
21      skill in the art could reasonably come to different conclusions concerning the number
22      of tine elements in the Axonics helical tine structure. While the parties’ experts
        disagree regarding the number of “tine elements” present in the Axonics helical tine
23      structure, Dr. Chai’s testimony regarding his opinion on this issue does not dispute that
24      another POSITA could reasonably come to a different conclusion. Medtronic’s expert
        may believe there are three tine elements, but this does not mean another POSITA
25      could not reasonably conclude otherwise. Nor did he reject that different persons of
26      ordinary skill could reach a different conclusion on the number of “tine elements.”
        Medtronic’s expert has explicitly agreed that another person could reach a different
27      conclusion based on the Special Master’s construction. Ex. 4 (1/8/23 Chai Depo.) at
28      170:5-24 (“My analysis is there would not be 16 portions or parts. But I guess another
       AXONICS’ REPLY TO MEDTRONIC’S               27         Case No. 8:19-cv-02115-DOC-JDE
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 1            Axonics’ Undisputed Facts and                  Medtronic’s Response to Cited Fact
                  Supporting Evidence                            and Supporting Evidence
 2
        person could look at it and say there would be 16 tined elements.”). In response to a
 3      question about whether he believed this admission affected his opinion, Dr. Chai stated
 4      that he believes others “would come up with a similar analysis.” Ex. 70, at 198:6–18.
        That is neither a retraction of his earlier admission nor a conclusion that another
 5
        POSITA could not reasonably disagree with his analysis. This fact is not disputed.
 6
        45.    Each asserted claim of the 314 and Undisputed.
 7             756 Patents requires that each tine
 8             element of the plurality of tine
               elements possess two or more tines.
 9
        Evidence: Ex. 5 (314 Patent) at Claims 1,
10      2, 10–12, and 18–24; Ex. 55 (756 Patent)
11      at Claims 14, 18.

12      46.    The Special Master’s construction            Undisputed.
               of “plurality of tine elements” is
13
               “two or more parts or portions
14             (each of which includes one or
               more tines) that are positioned
15
               along the length of the lead body
16             and that may be formed as a single
               structure or as multiple structures”.
17
        Evidence: Dkt. No. 163-1 (“R&R”) at 27.
18
19
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26
27
28
       AXONICS’ REPLY TO MEDTRONIC’S                   28         Case No. 8:19-cv-02115-DOC-JDE
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 1      RESPONSE TO MEDTRONIC STATEMENT OF ADDITIONAL MATERIAL
 2                                            FACTS
 3
 4        Medtronic Additional Material Fact                         Axonics’ Response
 5      47. Claim 1 of the ’069 Patent originally         Undisputed that the Claim 1 of the 069
        recited “an external power source…                Patent originally contained the language
 6      generating a current associated with said         quoted. This does not support Medtronic’s
 7      internal power source” and “an alignment          position; this supports Axonics’ position.
        indicator, operatively coupled to said            The more complete language of the
 8
        internal power source, reporting said             limitations of Claim 1 of the 069 Patent is
 9      alignment as a function of said current.”         “an external power source having a
        Thus, as originally filed, the alignment          primary coil, said external power source
10
        was reported as a function of the “current        providing energy to said implantable
11      associated with said internal power               medical device when said primary coil of
        source.”                                          said external power source is placed in
12
                                                          proximity of said secondary coil of said
13      Nisbet Decl., Ex. 1, (MDT-00000001, at            implantable medical device and thereby
        MDT-00000057).                                    generating a current associated with said
14
                                                          internal power source” and “an alignment
15                                                        indicator, operatively coupled to said
                                                          internal power source, reporting said
16
                                                          alignment as a function of said current.”
17                                                        MDT Ex. 1 (MDT-00000001, at MDT-
                                                          00000057).
18
19                                                        Medtronic’s assertion, which is lawyer
                                                          argument, “Thus, as originally filed, the
20
                                                          alignment was reported as a function of
21                                                        the ‘current associated with said internal
22                                                        power source,’” does not create a genuine
                                                          dispute of material fact because
23                                                        Medtronic’s characterization is factually
24                                                        unsupported. It is undisputed that original
                                                          Claim 1 of the 069 Patent described an
25                                                        alignment indicator reporting alignment as
26                                                        a function of the “current associated with
                                                          said internal power source.” This does not
27                                                        support Medtronic’s position; this
28                                                        supports Axonics’ position.
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 1        Medtronic Additional Material Fact                          Axonics’ Response
 2
        48. The examiner rejected claims 1–31  Undisputed that the Examiner rejected
 3
        based on U.S. Patent No. 5,690,693     Claims 1-31 based on U.S. Patent No.
 4      (“Wang”) disclosing an alignment       5,690,693 (“Wang”). Medtronic’s
        indicator 40 within external TET devicecharacterization of the examiner’s
 5
        50 (i.e., the external charger) and coupled
                                               rejection based on Wang is not accurate
 6      to the primary coil 9, rather than within
                                               and not a material fact. The Examiner
        implanted medical device 14 and coupledstated that “[t]he IMD has an internal
 7
        to battery 13.                         power source 13 (i.e., a rechargeable
 8                                             battery) and a secondary coil 10 coupled
        Nisbet Decl., Ex. 1, (MDT-00000001, at to the power source,” adding that “Wang
 9
        MDT-00000375–376); Nisbet Decl., Ex. 2 discloses an alignment indicator that is
10      (U.S. Patent No. 5,690,693 (“Wang”),   operatively coupled to the internal power
        Fig. 2).                               source, which reports proper alignment
11
                                               based on the input current.” MDT Ex. 1 at
12                                             MDT-00000375-376. Medtronic’s
                                               characterization about this is factually
13
                                               unsupported and does not create a genuine
14                                             dispute of fact.
15
        49. The applicant argued that “Wang et al          Undisputed that the applicant made the
16      ’693 explicitly discloses that the                 quoted statements as part of the
17      alignment indicator utilizes a                     applicant’s arguments during prosecution.
        measurement of the magnitude of the
18      input current to the primary coil” and             This is not a material fact to summary
19      therefore failed to “show, disclose or             judgment. Nor does this raise a genuine
        suggest, and in fact teaches away from,            dispute of fact. Medtronic’s selection of
20      the alignment indicator being operatively          these quotations does not support
21      coupled to the internal power source.”             narrowing the scope of disclaimer during
                                                           prosecution or narrowing the scope of
22      Nisbet Decl., Ex. 1, (MDT-00000001, at             subject matter foreclosed by prosecution
23      MDT-00000390).                                     history estoppel.

24      50. Because Wang measures current in the           Undisputed that the applicant made the
25      external charger, the applicant argued that        quoted statements as part of the
        “Wang ’693 specifically discloses                  applicant’s arguments during prosecution.
26      measuring the current associated with the
27      external power source” and fails to                This is not a material fact to summary
        disclose “an alignment indicator,                  judgment. Nor does this raise a genuine
28
       AXONICS’ REPLY TO MEDTRONIC’S                  30          Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                       Axonics’ Response
 2      operatively coupled to said internal power dispute of fact. Medtronic’s
        source, reporting said alignment as a      characterization of the examiner’s
 3      function of said current.”                 rejection based on Wang is not accurate
 4                                                 and not a material fact. Medtronic’s
        Nisbet Decl., Ex. 1, (MDT-00000001, at     selection of these quotations does not
 5
        MDT-00000390, MDT-00000386).               support narrowing the scope of disclaimer
 6                                                 during prosecution or narrowing the scope
                                                   of subject matter foreclosed by
 7
                                                   prosecution history estoppel.
 8                                                      Undisputed that the Examiner made the
        51. The examiner argued that, because           following statement:
 9
        “Wang discloses that the alignment is
10      reported based on the input DC current,         “Wang discloses that the alignment is
        which depends on the power draw of the          reported based on the input DC current,
11                                                      which depends on the power draw of the
        internal power source” and “[s]ince power
12      is calculated by the known equation             internal power source” and “[s]ince power
        P=VI,” “the current of the internal power       is calculated by the known equation P=VI,
13                                                      the current of the internal power source
        source directly affects the operation of the
14      alignment indicator” located in the             directly affects the operation of the
        external charger of Wang. In other words,       alignment indicator.”
15
        the examiner took the position that the         Medtronic’s characterization using “other
16      current measured by Wang’s alignment            words” about the examiner’s position, and
17      indicator in the external charger is            specifically the alleged conclusion that the
        “associated with” the internal battery.         current measured in Wang’s alignment
18                                                      indicator is “associated with” the internal
19      Nisbet Decl., Ex. 1, (MDT-00000001, at          battery is not a fact, not material, and not
        MDT-00000403).                                  supported by sufficient evidence to raise a
20                                                      genuine dispute of fact.
21
22      52. In response, the applicant amended          Undisputed that the applicant amended the
        the limitation “thereby generating a            claim language as noted. This does not
23
        current associated with said internal           support Medtronic’s position; this
24      power source” to “thereby generating a          supports Axonics’ position.
        current through said internal power
25
        source.”
26
27      Nisbet Decl., Ex. 1, (MDT-00000001, at
        MDT-00000386, MDT-00000408).
28
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 1        Medtronic Additional Material Fact                         Axonics’ Response
 2
        53. This amendment foreclosed using the          Undisputed that one approach foreclosed
 3
        current in the external charger as “said         by the amendment was using current in
 4      current” for alignment reporting.                the external charger. Medtronic’s
 5                                                       characterization about the import of the
        Nisbet Decl., Ex. 1, (MDT-00000001, at           amendment and the scope of the
 6      MDT-00000408).                                   disclaimed subject matter is not a material
 7                                                       fact, it is a legal conclusion, it is factually
                                                         unsupported, and does not create a
 8                                                       genuine dispute of fact.
 9
10      54. The applicant stated, “claims 1 and          Not a genuine dispute of material fact.
11      21, as amended, recite that the alignment        Medtronic’s quotation of this record
        indicator reports alignment as a function        document is incomplete leaving out
12      of a current through the internal power          important additional language that shows
13      source. Wang et al ’693 teaches away             why there is no genuine dispute of
        from basing the alignment indicator on           material fact and supporting Axonics’
14      the current through the internal power           position. The actual, complete quotation is
15      source by teaching the use of current            not genuinely disputed and supports
        associated with the external power               Axonics. Medtronic’s statement is not
16      source.”                                         supported by evidence sufficient to create
17                                                       a genuine dispute of fact. This does not
        Nisbet Decl., Ex. 1, (MDT-00000001, at           support Medtronic’s position; this support
18      MDT-00000413); see also Nisbet Decl.,            Axonics’ position.
19      Ex. 1, at MDT-00000431) (“Thus, Wang
        et al ‘693 does not show, disclose or            Medtronic actually said during
20      suggest, and in fact teaches away from           prosecution “claims 1 and 21, as
21      reporting the alignment of the primary           amended, recite that the alignment
        and secondary coils as a function of the         indicator reports alignment as a function
22      current through the internal power source.       of a current through the internal power
23      Instead, Wang et al ‘693 specifically            source. As noted above, not only
        discloses measuring the current associated       does Wang et al ’693 not show, disclose
24      with the external power source.”).               or suggest this subject matter, Wang et al
25                                                       ’693 teaches away from basing the
                                                         alignment indicator on the current through
26                                                       the internal power source by teaching the
27                                                       use of current associated with the external
                                                         power source.” MDT Ex. 1, (MDT-
28
       AXONICS’ REPLY TO MEDTRONIC’S                32           Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2                                                     00000001, at MDT-00000413). Medtronic
                                                       omits important language from the
 3                                                     quotation: “As noted above, not only does
 4                                                     Wang et al ’693 not show, disclose or
                                                       suggest this subject matter, . . . .” The
 5
                                                       applicant emphasized “through the
 6                                                     internal power source,” and this was
                                                       omitted from the quote in the statement.
 7
                                                       Id.
 8
                                                       It is undisputed that the parenthetical
 9
                                                       quote from MDT-00000431 is accurate.
10
                                                       This language supports Axonics, not
11
                                                       Medtronic, and shows there is no genuine
12                                                     dispute that Medtronic distinguished the
                                                       art based on “current through the internal
13
                                                       power source,” and that other currents
14                                                     were disclaimed by argument or
                                                       amendment.
15
16      55. The examiner stated, “the applicant        Undisputed that the examiner made the
17      argues that Wang does not teach                quoted statements. This statement by the
        measuring a current generated in the           examiner is supportive of Axonics’
18      internal power source and then                 motion and helps to show the absence of a
19      using the internal current to report           genuine dispute of material fact.
        alignment. However, the claims                 Specifically, this statement is supportive
20      never require that the internal                of Axonics’ position with respect to the
21      current, or any current for that               proper scope of disclaimer for purposes of
        matter, to be measured.”                       application of the doctrine of equivalents.
22                                                     In any event, this statement does not
23      Nisbet Decl., Ex. 1 (MDT-00000001, at          support a genuine dispute of fact in
        MDT-00000441).                                 support of Medtronic.
24
25
        56. In response, the applicant amended         Undisputed that the applicant made the
26      the claims to include the limitation           quoted amendment. This is an undisputed
        at issue, “measuring said current.”            material fact in support of Axonics’
27
                                                       motion for summary judgment as it
28
       AXONICS’ REPLY TO MEDTRONIC’S              33          Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2      Nisbet Decl., Ex. 1 (MDT-00000001, at            supports Axonics’ position with respect to
        MDT-00000452).                                   the proper scope of disclaimer for
 3                                                       purposes of application of the doctrine of
 4                                                       equivalents. In any event, this statement
                                                         does not support a genuine dispute of fact
 5
                                                         in support of Medtronic.
 6      57. The applicant continued to argue             Undisputed that the applicant made the
        that the distinction between the                 quoted statement as part of the applicant’s
 7
        Wang reference and the amended                   arguments during prosecution.
 8      claims was that Wang “teaches                    Medtronic’s characterization of this
        away from basing the alignment                   portion of the prosecution history is not a
 9
        indicator on the current through the             material fact and does not create a genuine
10      internal power source by teaching                dispute of facts. Moreover, the statement
        the use of current associated with               is supportive of Axonics’ motion and
11
        the external power source.”                      helps to show the absence of a genuine
12                                                       dispute of material fact. Specifically, this
        Nisbet Decl., Ex. 1 (MDT-00000001, at            statement is supportive of Axonics’
13
        MDT-00000457).                                   position with respect to the proper scope
14                                                       of disclaimer for purposes of application
15                                                       of the doctrine of equivalents. In any
                                                         event, this statement does not support a
16                                                       genuine dispute of fact in support of
17                                                       Medtronic.

18
        58. Wang does not disclose the accused     Undisputed that the operation described
19      equivalent – measuring a current in the    for Wang and the operation of Axonics
20      implant as a proxy for the actual current  product alleged to be equivalent are not
        through the battery.                       identical. Medtronic’s characterization is
21                                                 not a material fact, nor is the fact in
22      Nisbet Decl., Ex. 2 (Wang, Fig. 2); Nisbet question material to the scope of the
        Decl., Ex. 1 (MDT-00000001, at MDT-        disclaimer because for the reasons
23      00000403).                                 Axonics has explained Medtronic cannot
24                                                 carry its burden of showing that the reason
                                                   for the amendment was tangential to the
25
                                                   alleged equivalent.
26
                                                         Axonics incorporates as if stated in full
27
                                                         herein its response to DAF 59. As shown
28
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 1       Medtronic Additional Material Fact                       Axonics’ Response
 2                                                     in DAF 59, Wang describes a system that
                                                       does not disclose the use of a measured
 3                                                     current through the internal power source.
 4                                                     The alleged equivalent also does not use a
                                                       measured current through the internal
 5
                                                       power source.
 6      59. The scope of surrender based on the        Not a statement of fact supported by
        objectively apparent reasons for the           evidence but an erroneous lawyer
 7
        amendment is limited to “measuring the         argument and legal conclusion insufficient
 8      current through the external power             to create a genuine dispute of material
        source.”                                       fact. Medtronic’s characterization about
 9
                                                       this is factually unsupported and does not
10      Nisbet Decl., Ex. 1 (MDT-00000001, at          create a genuine dispute of fact. This is
        MDT-00000456)                                  also not a material fact to summary
11
                                                       judgment, and Medtronic’s
12                                                     characterizations of this are not a material
                                                       fact. This improperly includes legal
13
                                                       conclusions and assumptions contrary to
14                                                     the law, which is addressed in Axonics’
15                                                     Reply.

16                                                     The scope of the surrender includes
17                                                     currents other than “current through the
                                                       internal power source.” The scope of the
18                                                     surrender is not “measuring the current
19                                                     through the external power source.”
                                                       Medtronic’s statement is not supported by
20                                                     the facts and raises no genuine dispute of
21                                                     fact. The scope of the surrender includes
                                                       currents other than “current through the
22                                                     internal power source.”
23
                                                       The applicant made two relevant
24                                                     amendments to claims of the 069 Patent,
25                                                     as described in SUF 2-4, which Axonics
                                                       incorporates as if stated in full herein.
26                                                     Medtronic confirmed that the narrowing
27                                                     of “current associated with” to “current
                                                       through” was to “clarify” by using the
28
       AXONICS’ REPLY TO MEDTRONIC’S              35           Case No. 8:19-cv-02115-DOC-JDE
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 1       Medtronic Additional Material Fact                   Axonics’ Response
 2                                                 “more definite ‘through’” and by
                                                   requiring use of “the current that passes
 3                                                 through the internal power source.” SUF
 4                                                 2-5; Ex. 45 at MDT-00000408, 412, 426,
                                                   430, 451-461. In particular, the applicant
 5
                                                   said “Independent claims have been
 6                                                 amended solely to clarify the language of
                                                   the current rather than being ‘associated
 7
                                                   with’ the internal power source to the
 8                                                 more definite ‘through’ the internal power
                                                   source. This amendment will present the
 9
                                                   claims in better form for appeal.” Id. at
10                                                 MDT-00000412. The applicant also said
                                                   “Claims 1 and 21 have been amended to
11
                                                   clarify the claims by reciting that the
12                                                 current of which the alignment is a
                                                   function is the current that passes through
13
                                                   the internal power source.” Id. at MDT-
14                                                 00000412, 430.
15
                                                   Medtronic included as a basis for
16                                                 distinguishing the prior art that it did not
                                                   use “current through the internal power
17
                                                   source.” For example, the applicant said
18                                                 “Claims 1 and 21, as amended, recite that
19                                                 the alignment indicator reports alignment
                                                   as a function of a current through the
20                                                 internal power source. As noted above,
21                                                 not only does Wang et al ’693 not show,
                                                   disclose or suggest this subject matter,
22                                                 Wang et al ’693 teaches away from basing
23                                                 the alignment indicator on the current
                                                   through the internal power source by
24                                                 teaching the use of current associated with
25                                                 the external power source.” MDT Ex. 1/
                                                   Ex. 45 (MDT-00000001, at MDT-
26                                                 00000413). The applicant emphasized
27                                                 “through the internal power source,”
                                                   confirming its relevance. Id.
28
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 1       Medtronic Additional Material Fact                    Axonics’ Response
 2
                                                   Medtronic argued during prosecution
 3                                                 following the second amendment, “claims
 4                                                 1 and 21, as amended, recite that the
                                                   alignment indicator reports alignment by
 5
                                                   measuring and reporting alignment based
 6                                                 on current . . . through the internal
                                                   power source . . . . As noted above, not
 7
                                                   only does Wang et al ’693 not show,
 8                                                 disclose or suggest this subject matter,
                                                   Wang et al ’693 teaches away from basing
 9
                                                   the alignment indicator on the current
10                                                 through the internal power source by
                                                   teaching the use of current associated with
11
                                                   the external power source.” MDT Ex. 1/
12                                                 Ex. 45 at MDT-00000456-457.
13
                                                   This prosecution history supports
14                                                 Axonics. The applicant distinguished the
                                                   art based on its failure to disclose “current
15
                                                   through the internal power source.” That
16                                                 alone is sufficient to show that the scope
                                                   of the surrender includes the currents
17
                                                   other than the “current through the
18                                                 internal power source.” Moreover, the
19                                                 applicant specifically argued separately as
                                                   evidenced by the “not only” language that
20                                                 the prior art relied on the external device
21                                                 and did not disclose the use of current
                                                   through the internal power source.
22
23                                                 The second amendment that requires
                                                   measuring further confirms the that the
24                                                 surrender included “current through the
25                                                 internal power source.” Following the first
                                                   amendment, the examiner said that “the
26                                                 claims never require that the internal
27                                                 current . . . be measured.” MDT Ex. 1
                                                   (MDT-00000001, at MDT-00000441).
28
       AXONICS’ REPLY TO MEDTRONIC’S          37           Case No. 8:19-cv-02115-DOC-JDE
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 1       Medtronic Additional Material Fact                    Axonics’ Response
 2                                                  the extent that Medtronic fails to recite
                                                    that the constant voltage phase is a
 3                                                  roughly constant voltage Medtronic
 4                                                  misstates the record and its statement is
                                                    unsupported and cannot give rise to a
 5
                                                    genuine dispute of fact. Moreover, an
 6                                                  accurate account of the disclosure of
                                                    Baumann supports Axonics’ motion for
 7
                                                    summary judgment.
 8
                                                    The Special Master’s claim construction
 9
                                                    order stated, “Medtronic thus stated that
10                                                  Baumann’s disclosure of ‘a constant
                                                    current phase and a “roughly constant”
11
                                                    voltage phase’ did not disclose the
12      Dkt. No. 163-1 (“R&R”) at 79 (citing        ‘declines as’ limitation. Regardless of
        IPR2020-00680 – Dkt. 111, Ex. 28,           whether the PTAB adopted or relied upon
13      December 22, 2020 Patent Owner’s            these statements, Medtronic’s statements
14      Response at 27–28).                         amount to a clear and unmistakable
                                                    disclaimer of a constant current phase
15
                                                    followed by a roughly constant voltage
16                                                  phase.” Dkt. No. 163-1 (“R&R”) at 84.
17
                                                    The Special Master construed the term
18                                                  “wherein said current passing through said
19                                                  internal power source declines as said
                                                    voltage of said internal power source
20                                                  increases during a charging cycle” to
21                                                  mean “wherein said current passing
                                                    through said internal power source
22                                                  declines as said voltage of said internal
23                                                  power source increases during a charging
                                                    cycle, which does not include instances in
24                                                  which said current passing through said
25                                                  internal power source declines only after
                                                    the voltage of said internal power source
26                                                  increases during a charging cycle, and
27                                                  which does not include a two-phase
                                                    charging cycle with a constant current
28
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 1       Medtronic Additional Material Fact                        Axonics’ Response
 2                                                     characterization of Medtronic’s own
        Dkt. 360-6 (Expert Report of Richard T.        expert’s opinions is not a material fact.
 3      Mihran) ¶¶ 197–198, 482–506 and 526–           Nor does it create a genuine dispute of
 4      532.                                           facts. Further, Medtronic’s expert’s
                                                       opinions are factually unsupported and do
 5
                                                       not create a genuine dispute of fact. Dr.
 6                                                     Mihran does not provide evidence on
                                                       which a reasonable juror could find that
 7
                                                       Medtronic’s assertion is correct.
 8
                                                       Medtronic ignores the Special Master’s
 9
                                                       construction by arguing that the ability to
10                                                     be programmed during manufacture is
                                                       enough.
11
12                                                     The Special Master expressly stated, “to
                                                       whatever extent Medtronic is proposing
13
                                                       that the ‘programmable limit’ term could
14                                                     be met by a limit that is programmable by
                                                       the manufacturer at the time of production
15
                                                       or shipping but that cannot subsequently
16                                                     be modified, such an interpretation would
                                                       read out the word ‘programmable.’ To
17
                                                       whatever extent this is disputed, all of the
18                                                     evidence discussed above supports finding
19                                                     that ‘programmable limit’ requires that the
                                                       relevant limit in the completed apparatus
20                                                     must be programmable after the apparatus
21                                                     is shipped to distributors or customers for
                                                       use.” Dkt. 163-1 (“R&R”)at 59-60.
22
23                                                     Medtronic’s suggestion that
                                                       programmability during manufacture
24                                                     meets the Special Master’s construction
25                                                     disregards the language of the R&R.

26                                                     All the functionality Medtronic points to
27                                                     for its claim that the temperature limits are
                                                       programmable after shipment, on the
28
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2                                                     or preselected or manufacturer presets.”
                                                       Dkt. No. 163-1 (“R&R”) at 50. This is not
 3                                                     a material fact to summary judgment. This
 4                                                     does not support Medtronic’s position;
                                                       this supports Axonics’ position. As
 5
                                                       Axonics’ construction and the Special
 6                                                     Master’s construction confirm, the device
                                                       must be programmable after shipment.
 7
 8      98. During claim construction, Axonics         Not a statement of fact supported by
        agreed that “programmable” means               evidence sufficient to create a genuine
 9
        “capable of being programmed,” but             dispute of material fact; rather this is a
10      contended that such a capability is limited    lawyer argument contrary to the claim
        to happening “during use, excluding            construction and advancing a conclusion
11
        limits that are predetermined or               that is not supported by the evidence on
12      preselected or manufacturer presents.”         which Medtronic purports to rely.
                                                       Medtronic’s characterization of Axonics’
13
        Dkt. 138 (“Axonics Responsive Claim            claim construction is not a material fact.
14      Construction Brief”) at 19.                    This does not support Medtronic’s
15                                                     position; this supports Axonics’ position.

16                                                     The terms “capable of being
17                                                     programmed” was language from
                                                       Medtronic’s construction, and Axonics
18                                                     addressed how even the language of
19                                                     Medtronic’s construction supported
                                                       Axonics. Axonics does not dispute that its
20                                                     construction contained the language
21                                                     “during use, excluding limits that are
                                                       predetermined or preselected or
22                                                     manufacturer presents”: “a variable
23                                                     temperature limit that is able to be
                                                       changed during use, excluding limits that
24                                                     are pre-determined or preselected or
25                                                     manufacturer presets.” Dkt. No. 163-1
                                                       (“R&R”) at 50.
26
27                                                     Axonics addressed how even the cases
                                                       that Medtronic cited supported Axonics’
28
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2                                                  approach at claim construction, including
                                                    that devices need to be programable after
 3                                                  manufacture. For example, Axonics
 4                                                  stated, “in Info-Hold, Inc. v. Muzak
                                                    Holdings LLC, No. 1:11-cv-283, 2012
 5
                                                    U.S. Dist. LEXIS 128424, at *12 (S.D.
 6                                                  Ohio Sep. 10, 2012), the district court
                                                    properly rejected defendant’s proposed
 7
                                                    construction of ‘programmable’ as
 8                                                  ‘programmed’ (meaning already
                                                    programmed), but that is consistent with
 9
                                                    Axonics’ proposed construction, which
10                                                  would similarly exclude ‘already
                                                    programmed’ limits and require the
11
                                                    present ability to be changed.” Dkt. No.
12                                                  138 at 16-17.
        99. In its IPR petition, Axonics contended Undisputed that Axonics included this
13
        as part of its proposed construction that a language as quoted in its IPR Petition but
14      “programmable limit” is a “variable         disputed in that Medtronic fails to quote
15      temperature limit stored on a memory that Axonics’ entire construction and leaves
        is able to be changed or modified by a      out critical language. Medtronic’s
16      user or software….”                         characterization of the import of this
17                                                  contention is factually unsupported, does
        Nisbet Decl., Ex. 14 (“Axonics’ Petition    not raise a genuine dispute of fact, and
18      for IPR of U.S. Patent 9,821,112) at 7      does not support Medtronic’s position; it
19                                                  supports Axonics’ position.

20                                                    Axonics contended in its IPR petition, as
21                                                    part of its proposed construction, that a
                                                      programmable limit is a “variable
22                                                    temperature limit stored on a memory that
23                                                    is able to be changed or modified by a
                                                      user or software, excluding pre-
24                                                    determined, manufacturer presets.”
25                                                    Axonics’ Petition for IPR of U.S. Patent
                                                      9,821,112 at 7. This was a proposed
26                                                    construction by Axonics in an IPR
27                                                    petition, and is not binding here. It is also
                                                      consistent with the Special Master’s
28
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 1        Medtronic Additional Material Fact                       Axonics’ Response
 2                                                      construction which expressly stated that
                                                        the evidence “supports finding that
 3                                                      ‘programmable limit’ requires that the
 4                                                      relevant limit in the completed apparatus
                                                        must be programmable after the
 5
                                                        apparatus is shipped to distributors or
 6                                                      customers for use.” Dkt. No. 163-1
                                                        (“R&R”) at 60.
 7
        100. Axonics’ experts have not provided         Not a statement of fact supported by
 8      the opinion that modifying the                  evidence sufficient to create a genuine
                          would effectively             dispute of material fact; rather this is a
 9
        destroy the FDA approved product as an          lawyer argument contrary to the claim
10      operable medical device.                        construction and advancing a conclusion
                                                        that is not supported by the evidence on
11
        Nisbet Decl., Ex. 8 (Rebuttal Expert            which Medtronic purports to rely.
12      Report of Pedro Irazoqui at ¶¶ 215–227)         Medtronic’s characterization about this is
                                                        factually unsupported and does not create
13
                                                        a genuine dispute of fact. Medtronic’s
14                                                      characterization of this is not a material
15                                                      fact. Axonics incorporates by reference its
                                                        response to DAF 101.
16
17                                                      Medtronic attempts to criticize Axonics’
                                                        undisputed factual showing that it would
18                                                      not be permissible to alter the temperature
19                                                      limits without going through a new
                                                        regulatory process but cites no contrary
20                                                      fact and no evidence to place that fact in
21                                                      genuine dispute.

22      101. Mr. Abdeen’s deposition testimony          Not a statement of fact supported by
23      did not state that modifying a                  evidence sufficient to create a genuine
             would affect the operability of the        dispute of material fact; rather this is a
24      accused product as an FDA approved              lawyer argument and advancing a
25      product.                                        conclusion that is not supported by the
                                                        evidence on which Medtronic purports to
26      Nisbet Decl., Ex. 10 (Deposition                rely. Medtronic’s characterization about
27      Transcript of Faizal Abdeen (“Abdeen            this is factually unsupported and does not
        Dep. Tr.”)) at 78:9–12, 82:19–83:5,             create a genuine dispute of fact.
28
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 1        Medtronic Additional Material Fact                     Axonics’ Response
 2                                                    show infringement because such
                                                      contentions are untimely.
 3
                                                      Axonics objects under FRE 402, 403, 37.
 4      113. Asserted claim 1 of the ’112 patent      Undisputed. This does not raise a genuine
        recites: “a sensor configured to measure a    dispute of material fact.
 5
        temperature indicative of heat resulting
 6      from the transcutaneous transfer of energy
        to the implantable medical device.”
 7
 8      Dkt. 28-4 (’112 patent), cl. 1.
 9
        114. Claim 8 of the ’112 patent (from         Undisputed. This does not raise a genuine
10      which asserted claims 16 and 17 depend)       dispute of material fact.
        recites “sensing, via a sensor, a
11
        temperature indicative of heat resulting      Medtronic’s reliance on Claims 8, 16, and
12      from the transcutaneous transfer of energy    17 of the 112 Patent does not support
13      to the implantable medical device.”           infringement of the asserted claims in this
                                                      case. These claims involved sensing
14      Dkt. 28-4 (’112 patent), cl. 8                temperature on an implant not a charger.
15                                                    Medtronic does not make a showing that
                                                      such temperature could not be indicative
16                                                    of heat from transcutaneous transfer of
17                                                    energy. Moreover, Axonics’ positions in
                                                      the IPR proceedings with respect to the
18                                                    claims cited in Medtronic’s statement are
19                                                    not material as the claims are different,
                                                      the limitations involve implant
20                                                    temperature measurement, Medtronic
21                                                    survived the IPR based on the distinction
                                                      between temperature sensors being in the
22                                                    implant versus in the charger, and the
23                                                    asserted claims with the charger
                                                      temperature sensor were not invalidated
24                                                    during IPR and positions taken by
25                                                    Axonics that did not prevail in the IPR are
                                                      not binding in this proceeding. DAF 121-
26                                                    24.
27
        115. The Special Master noted that            Undisputed that the Special Master’s
28
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2      Axonics did not “persuasively                    language is quoted correctly. Medtronic’s
        demonstrate that [“indicative of”] should        characterization of the relevance of this
 3      be limited to a particular type of               statement however is factually
 4      indication.”                                     unsupported and does not create a genuine
                                                         dispute of fact.
 5
        Dkt. No. 163-1 (“R&R”) at 38.
 6                                                    Medtronic attempts to rely on the Special
                                                      Master’s disputed construction of
 7
                                                      “indicative of” in a different patent (324
 8                                                    Patent) and different term, “output
                                                      indicative of the temperature of the side of
 9
                                                      the housing,” which does not dictate the
10                                                    meaning of the term with different
                                                      elements in the 112 Patent. The term
11
                                                      “indicative of” has not been construed in
12                                                    the 112 Patent.
        116. The Special Master construed the         Undisputed that the Special Master’s
13
        term “indicative of” to mean “serving as a language is quoted correctly. Medtronic’s
14      sign of,” explaining that “‘indicative of’ is characterization of the relevance of this
15      a broad term that can potentially             statement is factually unsupported and
        incorporate many different concepts, and does not create a genuine dispute of fact.
16      ‘[t]he patentee is free to choose a broad
17      term and expect to obtain the full scope of Medtronic attempts to rely on the Special
        its plan and ordinary meaning….”              Master’s disputed construction of
18                                                    “indicative of” in a different patent (324
19      Dkt. No. 163-1 (“R&R”) at 40.                 Patent) and different term, “output
                                                      indicative of the temperature of the side of
20                                                    the housing,” which does not dictate the
21                                                    meaning of the term with different
                                                      elements in the 112 Patent. The term
22                                                    “indicative of” has not been construed in
23                                                    the 112 Patent.
        117. During his deposition, Dr. Irazoqui      Not a statement of fact supported by
24      was unable to find support in the intrinsic evidence sufficient to create a genuine
25      record for his interpretation of the claim    dispute of material fact; rather this is a
        limitation “a sensor configured to measure lawyer argument contrary to the claim
26      a temperature indicative of heat resulting construction and advancing a conclusion
27      from the transcutaneous transfer of energy that is not supported by the evidence on
        to the implantable medical device” as         which Medtronic purports to rely. This is
28
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2      requiring “a temperature sensor that            not a material fact to summary judgment.
        distinguishes between heat caused by the        Moreover, Medtronic is alleging based on
 3      transfer of energy and other sources of         this that Dr. Irazoqui and Axonics offered
 4      heat, as well as converts from heat to          a new and untimely claim construction:
        temperature.”                                   “Axonics’ untimely new claim
 5
                                                        construction fares no better for the same
 6      Nisbet Decl., Ex. 20 Deposition                 reasons. In fact, Axonics’ expert found no
        Transcript of Pedro Irazoqui (“Irazoqui         support in the intrinsic record for it.” Opp.
 7
        Dep. Tr.”) at 210:16-222:5)                     at 15. Medtronic’s characterizations in
 8                                                      and regarding this statement are factually
                                                        unsupported, do not create a genuine
 9
                                                        dispute of fact, and are not a material fact
10                                                      to summary judgment.
11
                                                        The question Medtronic quotes from
12                                                      Dr. Irazoqui’s deposition, “So your
                                                        opinion is that these claims require a
13
                                                        temperature sensor that distinguishes
14                                                      between heat caused by the transfer of
                                                        energy and other sources of heat, as well
15
                                                        as converts from heat to temperature,
16                                                      fair?” was part of a longer set of related
                                                        and misleading questions in which
17
                                                        Dr. Irazoqui was asked to “apply the
18                                                      construction that -- or the interpretation
19                                                      of the claims that we just talked about, the
                                                        requirements that you're imposing on the
20                                                      claim for the purposes of infringement. Is
21                                                      there anything in the '112 patent that
                                                        describes a temperature sensor that will
22                                                      differentiate between heat generated from
23                                                      the transfer of energy and other sources of
                                                        heat, and calculates the conversion
24                                                      between heat and temperature?” Ex. 77
25                                                      [Irazoqui Dep.], 210:16-212:19. The
                                                        questions and answers were not directed
26                                                      merely to the subject matter the statement
27                                                      identifies.

28
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 1       Medtronic Additional Material Fact                    Axonics’ Response
 2                                                 Dr. Irazoqui offered no claim construction
                                                   on this term and confirmed that in
 3                                                 deposition. Dr. Irazoqui did offer opinions
 4                                                 in his report, which were consistent with
                                                   Axonics’ earlier contentions, regarding
 5
                                                   whether the limitation “temperature
 6                                                 indicative of heat resulting from the
                                                   transcutaneous transfer of energy” was
 7
                                                   infringed, and there is nothing untimely
 8                                                 about these contentions. Dr. Irazoqui also
                                                   described the teachings of the 112 Patent,
 9
                                                   including in the testimony quoted by
10                                                 Medtronic and additional testimony
                                                   Medtronic omits from its citation.
11
12                                                 Medtronic omits from its citation that
                                                   Dr. Irazoqui identified in the specification
13
                                                   of the 112 Patent the issue raised by
14                                                 Medtronic’s question: “So I think we're
                                                   actually getting to the heart of it, right?
15
                                                   And this is where I think a lot of the
16                                                 contention comes from, is when a person
                                                   of ordinary skill in the art -- when I read
17
                                                   this patent and I read the claim and I see a
18                                                 word like ‘indicative’ -- right? -- I pull the
19                                                 patent up on Google because -- Google
                                                   patents, because I can search it there.
20                                                 Right? And I search for the word
21                                                 "indicative." And if I remember
                                                   correctly, it doesn't occur a single time
22                                                 anywhere in the specification.” Ex. 77
23                                                 [Irazoqui Dep.], 222:7-224:7.

24                                                 Dr. Irazoqui offered no construction of
25                                                 this term, as his report confirms. Ex. 44,
                                                   ¶¶ 201-14.
26
27                                                 Axonics’ expert Dr. Irazoqui clarified
                                                   more than once that he was not offering a
28
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 1       Medtronic Additional Material Fact                    Axonics’ Response
 2                                                 construction of this term in the 112 Patent
                                                   in his deposition. Dr. Irazoqui testified: “I
 3                                                 don’t see that I have taken a construction
 4                                                 of ‘indicative’ in the ’112 patent.” Ex. 77
                                                   [Irazoqui Dep.], 237:3-18. Dr. Irazoqui
 5
                                                   continued by confirming in looking back
 6                                                 at the “claim construction document that
                                                   was filed on July 1st” that he did not
 7
                                                   “discuss the ’112 patent there”, and “[f]or
 8                                                 the claims not interpreted by the court or
                                                   the Special Master, I have used the plain
 9
                                                   meaning that one of ordinary skill in the
10                                                 art would have understood at the time of
                                                   the alleged invention.” Id., 237:19-238:7.
11
12                                                 Dr. Irazoqui also testified, “I don’t see
                                                   where I make a statement about a
13
                                                   construction regarding the word ‘heat’
14                                                 unless you’re referring to the first
                                                   sentence where I say, ‘Another reason
15
                                                   why the output of the temperature is not
16                                                 indicative of heat generated by the
                                                   transcutaneous transfer.’” Id., 240:19-
17
                                                   242:5. Dr. Irazoqui continued, “But that
18                                                 statement does not limit what ‘indicative’
19                                                 means. It only means that whatever you
                                                   take ‘indicative’ to mean, whether you
20                                                 take a broad definition or a narrow
21                                                 definition -- whatever you take
                                                   ‘indicative’ to mean, you need to know
22                                                 whether or not the thing you’re measuring
23                                                 is going to that or not. So the question is
                                                   not heat. The question is heat from
24                                                 transcutaneous transfer. And for that, you
25                                                 need to be able to separate it out,
                                                   irrespective of your definition of
26                                                 ‘indicative.’” Id.
27
                                                   Medtronic’s lawyer repeatedly asked
28
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 1       Medtronic Additional Material Fact                   Axonics’ Response
 2                                                 Dr. Irazoqui questions falsely premised on
                                                   the Special Master already having
 3                                                 construed the claim term. For example,
 4                                                 Dr. Irazoqui was asked, “And does this
                                                   sensor meet the limitation ‘a sensor
 5
                                                   configured to measure a temperature
 6                                                 indicative of heat resulting from the
                                                   transcutaneous transfer of energy to the
 7
                                                   implantable medical device’ under the
 8                                                 Special Master’s construction?” Id.,
                                                   234:9-14. Dr. Irazoqui was also asked,
 9
                                                   “And under your -- based off your
10                                                 understanding of the -- like the Special
                                                   Master’s construction of ‘indicative of,’
11
                                                   this would not satisfy ‘indicative of?” Id.,
12                                                 231:19-22. Dr. Irazoqui was also asked,
                                                   “So does the disclosure of the device in
13
                                                   column 6, lines 5 through 10, satisfy the
14                                                 limitation ‘a sensor configured to measure
                                                   a temperature indicative of heat resulting
15
                                                   from the transcutaneous transfer of energy
16                                                 to the implantable medical device’ under
                                                   the Special Master’s construction?” Id.,
17
                                                   233:7-13.
18
19                                                 Even in the questions preceding those
                                                   Medtronic quotes in its briefing,
20                                                 Medtronic asked about a construction by
21                                                 asking Dr. Irazoqui to “apply the
                                                   construction that -- or the interpretation
22                                                 of the claims that we just talked about, the
23                                                 requirements that you’re imposing on the
                                                   claim for the purposes of infringement.”
24                                                 Id., 211:20-212:18. Dr. Irazoqui said “I’m
25                                                 not sure that I have provided a claim
                                                   construction at all in our conversation so
26                                                 far, and certainly not one that is different
27                                                 from the one that I provide in my report.”
                                                   Id.
28
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 1        Medtronic Additional Material Fact                    Axonics’ Response
 2      Decl. Ex. 1003) at 35.                       resulting from the transcutaneous transfer
                                                     of energy” in the IPR. Medtronic relies
 3                                                   upon descriptions provided for a means
 4                                                   plus function term “means for measuring
                                                     a temperature indicative of heat resulting
 5
                                                     from the transcutaneous transfer of
 6                                                   charging energy to the implantable
                                                     medical device” that is part of Claim 18
 7
                                                     that is asserted, was not invalidated by the
 8                                                   Board, and the construction of which was
                                                     not adopted by the Board. MDT Ex. 21
 9
                                                     [112 FWD] at 13, 53. This has no
10                                                   relevance to the present proceeding.
11
                                                     Axonics’ in the IPR merely cited the only
12                                                   temperature sensor structure in the 112
                                                     Patent for purposes of the means plus
13
                                                     function limitation. Axonics stated:
14                                                   “Apart from the reference to ‘temperature
                                                     sensor’ noted above, there appears no
15
                                                     alternative structure for measuring
16                                                   parameters correlated to temperature.”
                                                     MDT Ex. 14 at 12.
17
18                                                   Axonics quoted the 112 Patent: “The
19                                                   external device comprises an alternating
                                                     current (AC) coil configured for
20                                                   transcutaneously conveying the energy to
21                                                   the implantable medical device, a sensor
                                                     configured for measuring a parameter
22                                                   correlated to a temperature generated by
23                                                   the external device during the
                                                     transcutaneous conveyance of the energy
24                                                   to the implantable medical device, and a
25                                                   memory configured for storing a
                                                     programmable limit.” MDT Ex. 14 at 11
26                                                   (quoting 112 Patent at 6:38-45). Axonics
27                                                   also cited the claim language, that the
                                                     “structure of a ‘temperature sensor’ is
28
       AXONICS’ REPLY TO MEDTRONIC’S           102           Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2                                                       referenced throughout the application.” Id.
                                                         at 12 (describing 112 Patent at 20:6-67)
 3                                                       Axonics also showed Figure 14. Id.
 4                                                       Axonics’ expert relied on portions of
                                                         these same disclosures. MDT Ex. 17 at 35
 5
                                                         of 216.
 6
        122. To facilitate controlling the transfer      Undisputed but immaterial. There are
 7
        of energy to the implantable medical             numerous non-infringing alternative ways
 8      device, the temperature sensor described         of controlling the transfer of energy to the
        in the ’112 patent specification is not          implantable medical device and numerous
 9
        required to indicate how much heat has           ways of operation that do not require a
10      been created by the transcutaneous energy        temperature sensor that indicates how
        transfer process.                                much heat has been created by the
11
                                                         transcutaneous energy transfer process.
12      See generally Dkt. 28-4 (’112 patent).           Axonics’ transfer of energy to the
                                                         implantable medical device does not
13
                                                         involve a temperature sensor that indicates
14                                                       how much heat has been created by the
15                                                       transcutaneous energy transfer process.
                                                         However, the claims of the 112 Patent
16                                                       require a “temperature indicative of heat
17                                                       resulting from the transcutaneous transfer
                                                         of energy.” Medtronic fails to identify any
18                                                       way that the temperature sensor described
19                                                       in the 112 Patent specification could meet
                                                         this limitation and not indicate how much
20                                                       heat has been created by the
21                                                       transcutaneous energy transfer process.

22      123. In arguing for invalidity in IPR and        Undisputed but immaterial. Axonics did
23      this litigation, Axonics did not argue that      not use the quoted language in the IPR
        the claimed temperature sensor must              proceeding. Axonics incorporates as if
24      measure “something [that] actually               stated in full herein its response to DAF
25      indicates how much heat has been created         122.
        by the transcutaneous energy transfer
26      process.”                                        Other than the means plus function claim
27                                                       addressed above, Medtronic cites portions
        Nisbet Decl., Ex. 14 (’112 IPR Petition)         of the IPR proceeding for claims for
28
       AXONICS’ REPLY TO MEDTRONIC’S               103           Case No. 8:19-cv-02115-DOC-JDE
       STATEMENT OF ADDITIONAL FACTS
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2      at 11–12, 28–29, 49–50, 65–67, 77–78;          which Medtronic filed a disclaimer (Claim
        Nisbet Decl., Ex. 15 (Irazoqui 112             8) and claims that were not found
 3      Invalidity Bion Chart), 18–20; Nisbet          unpatentable (Claim 1). MDT Ex. 21 [112
 4      Decl., Ex. 16 (Irazoqui 112 Invalidity         FWD] at 2, 53; MDT Ex. 14 at 28–29
        Precision Chart), 24–46.                       (Claim 1), 49–50 (Claim 8), 65–67 (Claim
 5
                                                       1), 77–78 (Claim 8).
 6
                                                       For the disclaimed claim, and its
 7
                                                       dependents that were found unpatentable
 8                                                     in the 112 patent IPR proceeding, did not
                                                       require the temperature sensor to be in the
 9
                                                       external device at all. The prior art at
10                                                     issue had a temperature sensor in the
                                                       implant. MDT Ex. 21 [112 FWD] at 35
11
                                                       (confirming limitation was met by
12                                                     “thermistor 80 in implanted receiver 14 to
                                                       regulate the charging of rechargeable
13
                                                       power source 44 to restrict temperature
14                                                     rise”), 53; MDT Ex. 14 at 77. And
                                                       Medtronic points to nothing in the record
15
                                                       suggesting that a temperature reading in
16                                                     the implant would not be indicative of
                                                       heat generated from transcutaneous
17
                                                       energy transfer.
18
19                                                     For claims not found unpatentable, there
                                                       was a requirement for the temperature
20                                                     sensor to be in the external charging
21                                                     device. This limitation was how
                                                       Medtronic escaped invalidity of the
22                                                     asserted claims. MDT Ex. 21 [112 FWD]
23                                                     at 18-19, 24-30. Axonics’ positions in
                                                       attempting to invalidate those claims in
24                                                     the IPRs are not controlling in this
25                                                     proceeding. MDT Ex. 21 [112 FWD] at
                                                       24-30, 53.
26
27                                                     Axonics’ invalidity arguments in the
                                                       present case are not relevant as Axonics’
28
       AXONICS’ REPLY TO MEDTRONIC’S             104          Case No. 8:19-cv-02115-DOC-JDE
       STATEMENT OF ADDITIONAL FACTS
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 1        Medtronic Additional Material Fact                         Axonics’ Response
 2                                                        expert offered his invalidity opinions
                                                          under “Medtronic’s own apparent
 3                                                        interpretation of the claims.” MDT Ex. 15
 4                                                        (Irazoqui 112 Invalidity Bion Chart), 1;
                                                          MDT Ex. 16 (Irazoqui 112 Invalidity
 5
                                                          Precision Chart), 1.
 6
        124. In arguing for invalidity in IPR and  Not a statement of fact supported by
 7
        this litigation, Axonics alleges that a    evidence sufficient to create a genuine
 8      temperature sensor on an external device   dispute of material fact; rather this is a
        that ensured that the temperature of the   lawyer argument contrary to the claim
 9
        surface of the external device did not     construction and advancing a conclusion
10      exceed a certain temperature limit would   that is not supported by the evidence on
        satisfy the ’112 patent “indicative of”    which Medtronic purports to rely.
11
        claim requirement.                         Immaterial. Axonics did not allege merely
12                                                 that a temperature sensor on an external
        Nisbet Decl., Ex. 14 (’112 IPR Petition)   device that ensured that the temperature of
13
        at 28–29, 49–50, 65–67, 77–78; Nisbet      the surface of the external device did not
14      Decl., Ex. 17 (Colvin Decl. Ex. 1003, Ex. exceed a certain temperature limit met the
15      B) at 49, 73–74, 144; Nisbet Decl., Ex. 15 limitation. For example, Axonics
        (Irazoqui 112 Invalidity Bion Chart), 18- contended:
16      20; Nisbet Decl., Ex. 16 (Irazoqui 112
17      Invalidity Precision Chart), 24–46.        “A POSITA would have known the
                                                   external device was subject to UL 544
18                                                 such that it would have been obvious to
19                                                 include a temperature sensor on the
                                                   external device of Torgerson to measure a
20                                                 temperature of the device applied to the
21                                                 patient during charging to ensure
                                                   compliance with mandatory safety
22                                                 requirements. See Ex. 1003, ¶ 123. This
23                                                 temperature would have been indicative of
                                                   heat resulting from the transcutaneous
24                                                 transfer of energy to the implantable
25                                                 medical device. Id.” MDT Ex. 14 at 29.

26                                                        “As discussed, it would have been
27                                                        obvious to incorporate the temperature
                                                          sensor of Taylor into the external
28
       AXONICS’ REPLY TO MEDTRONIC’S                105          Case No. 8:19-cv-02115-DOC-JDE
       STATEMENT OF ADDITIONAL FACTS
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 1        Medtronic Additional Material Fact                    Axonics’ Response
 2                                                   transmitter of Barreras ’313 to ensure
                                                     compliance with EN60601. In light of
 3                                                   Taylors’s disclosure of (1) applicable
 4                                                   safety standards, (2) temperature sensor in
                                                     external transmitter, and (3) concern to
 5
                                                     limit overheating of skin by the
 6                                                   transmitter feet for patient comfort and
                                                     safe charging, a POSITA would have
 7
                                                     strong motivation as a medical device
 8                                                   manufacturer to modify Barreras ‘313
                                                     based on Taylor to include a temperature
 9
                                                     sensor in the transmitter to determine the
10                                                   temperature of the surface applied to the
                                                     patient during recharging met applicable
11
                                                     safety standards. Ex. 1003, ¶ 201.” Id. at
12                                                   66-67.
13
                                                     Axonics also relied on an implant
14                                                   temperature sensor for Claim 8, as
                                                     described in the preceding statement.
15
                                                     “Torgerson discloses transcutaneous
16                                                   coupling of implantable medical device
                                                     (14) with a primary coil, and external
17
                                                     charging device (30, 35) with a secondary
18                                                   coil, to transfer energy to the implantable
19                                                   medical device, as well as a temperature
                                                     sensor (520) and control circuitry (525)
20                                                   adapted to control energy transfer to the
21                                                   implantable medical device based on
                                                     temperature output in order to limit
22                                                   temperature rise during recharge to
23                                                   prevent unsafe conditions for the patient.
                                                     Ex. 1005 at 9:21-23; 10:19-23; Claim 36.
24                                                   Thus, Torgerson teaches a recharge
25                                                   management system that includes a
                                                     temperature sensor for monitoring the
26                                                   temperature of the medical device.” Id.,
27                                                   49-50.

28
       AXONICS’ REPLY TO MEDTRONIC’S           106          Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2                                                     “Barreras ’313 teaches a thermistor 80 in
                                                       the implanted device (see above in Fig. 6)
 3                                                     such that ‘[t]he temperature is measured
 4                                                     by a thermistor 80 which is adhered to the
                                                       rechargeable power source 44 during
 5
                                                       manufacturing.’ Ex. 1010 at 8:58-60.
 6                                                     Further as shown in Figure 6 above,
                                                       Barreras ’313 teaches a control circuit that
 7
                                                       regulates charging based on a temperature
 8                                                     reading of a temperature sensor (80) to
                                                       restrict temperature rise. See id. at 8:56-
 9
                                                       9:5.” Id., 77.
10
                                                       Medtronic cites Nisbet Decl., Ex. 15
11
                                                       (Irazoqui 112 Invalidity Bion Chart), 18-
12                                                     20; Nisbet Decl., Ex. 16 (Irazoqui 112
                                                       Invalidity Precision Chart), 24–46, but
13
                                                       this evidence is unrelated to this statement
14                                                     and does not support it.
15      125. In arguing for invalidity in IPR and      Not a statement of fact supported by
        this litigation, Axonics and its expert        evidence sufficient to create a genuine
16      “offer[ed] no explanation of the nature of     dispute of material fact; rather this is a
17      heat, how it is distinct from temperature,     lawyer argument contrary to the claim
        how to distinguish heat from the               construction and advancing a conclusion
18      transcutaneous transfer of energy as           that is not supported by the evidence on
19      opposed to other sources of heat, or what      which Medtronic purports to rely. See
        is required for temperature to indicate        DAF 117.
20      heat at all.”
21                                                     There can be no dispute that Medtronic
        Nisbet Decl., Ex. 14 (’112 IPR Petition)       knew it needed to address this claim
22      at 11–12, 28-29, 49–50, 65–67, 77–78;          language given that its expert ultimately
23      Nisbet Decl., Ex. 17 (Colvin Decl. Ex.         tried to. Dr. Irazoqui addressed in his
        1003) at 35; Nisbet Decl., Ex. 15              rebuttal expert report that there had been
24      (Irazoqui 112 Invalidity Bion Chart), 18–      “no attempt” to determine “how much
25      20; Nisbet Decl., Ex. 16 (Irazoqui 112         heat the charger produces as a result of
        Invalidity Precision Chart), 24–46.            transcutaneous energy transfer” as
26                                                     opposed to “when there is no
27                                                     transcutaneous energy transfer.” Id.
                                                       (citing Ex. 44, ¶ 203). Medtronic ignores
28
       AXONICS’ REPLY TO MEDTRONIC’S             107           Case No. 8:19-cv-02115-DOC-JDE
       STATEMENT OF ADDITIONAL FACTS
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2                                                       this record in suggesting that this is a new
                                                         issue. It is not.
 3
 4                                                  Dr. Irazoqui stated, “I have seen no
                                                    attempt by anyone to actually determine
 5
                                                    how much heat the charger produces as a
 6                                                  result of transcutaneous energy transfer as
                                                    opposed to heat produced by all the
 7
                                                    electronics even when there is no
 8                                                  transcutaneous energy transfer. The
                                                    charger components will generate some
 9
                                                    heat just by turning on the charger, even if
10                                                  the charger is not transferring energy to an
                                                    implant.” Dr. Irazoqui further stated, “Mr.
11
                                                    Schulzetenberg describes in his testimony,
12                                                  the charger generates heat even if there is
                                                    no transcutaneous energy transfer, and
13
                                                    there is no temperature sensor that
14                                                  distinguishes between the heat generated
                                                    without transcutaneous energy transfer
15
                                                    and heat generated with transcutaneous
16                                                  energy transfer.” Ex. 44, ¶ 203.
17      126. Claims 9–13 of the ’112 patent         Undisputed but not material. Axonics
        depend from Claim 8 and incorporate the incorporates its response to DAF 114 as if
18      limitations of claim 8 including the phrase fully set forth herein.
19      “sensing, via a sensor, a temperature
        indicative of heat resulting from the
20      transcutaneous transfer of energy to the
21      implantable medical device.”

22      Dkt. 28-4 (’112 patent), cl. 8–13.
23
        127. In IPR, Axonics contended claims 9- Undisputed but not material. Axonics
24      13 are invalid, and the PTAB issued a       incorporates its response to DAF 114 as if
25      final written decision finding that Axonics fully set forth herein.
        had proven unpatentability of claims 9–13
26      by a preponderance of the evidence.
27
        Nisbet Decl., Ex. 14 (’112 IPR Petition)
28
       AXONICS’ REPLY TO MEDTRONIC’S               108           Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                   Axonics’ Response
 2                                                in direct contradiction to its current claim
                                                  construction opinion, Medtronic’s lead
 3                                                counsel told the Special Master and this
 4                                                Court in connection with “element,”
                                                  twice, “there is no reference to ‘structure’
 5
                                                  there. There's no reference to ‘structure’
 6                                                there.” Id. at 42:23-24. And
        136. Axonics did not dispute during claim Not a statement of fact supported by
 7
        construction that each tine element would evidence sufficient to create a genuine
 8      encircle the lead body.                   dispute of material fact; rather this is a
                                                  lawyer argument and advancing a
 9
        Nisbet Decl., Ex. 4 (9/7/22 Claim         conclusion that is not supported by the
10      Construction Hr’g Tr.) at 43:13–50:10     evidence on which Medtronic purports to
                                                  rely. Medtronic never made this argument,
11
                                                  so it was unnecessary to dispute anything.
12                                                Axonics’ claim construction brief
                                                  described in passing one “embodiment”
13
                                                  described in the specification, “such as” a
14                                                “tine mounting band … encircling the
15                                                lead body.” Dkt. No. 111 at 4. But neither
                                                  Axonics nor the patent specification
16                                                characterized an “encircling” tine element
17                                                as anything more than an embodiment that
                                                  may be “preferred” but is not required.
18                                                See Dkt. No. 198-5, Ex. 5 (314 Patent) at
19                                                10:42-47)(“In the depicted preferred
                                                  embodiments, the tine elements 125, 130,
20                                                135 and 140 or 125′, 130′, 135′ and 140′
21                                                preferably comprise a tine mounting band
                                                  175 or 175′ encircling the lead body...”).
22                                                At claim construction, Medtronic never
23                                                contended that “tine elements” should be
                                                  limited to a preferred embodiment, and in
24                                                fact contended the opposite, scolding
25                                                Axonics for “improper[ly]” seeking to
                                                  “limit the claims to only certain depicted
26                                                embodiments.” Dkt. No. 115 at 6 (citing
27                                                GE Lighting Sols., LLC v. AgiLight, Inc.,
                                                  750 F.3d 1304, 1309 (Fed. Cir. 2014)(“It
28
       AXONICS’ REPLY TO MEDTRONIC’S            118        Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                       Axonics’ Response
 2                                                      is improper to read limitations from a
                                                        preferred embodiment described in the
 3                                                      specification—even if it is the only
 4                                                      embodiment. . . .”).
        137. Axonics’ claim construction brief          Not a statement of fact supported by
 5
        argued that according to the specification,     evidence sufficient to create a genuine
 6      a “tine element” “encircl[es] the lead          dispute of material fact; rather this is a
        body”: “The embodiments described in            lawyer argument and advancing a
 7
        the specification, and their accompanying       conclusion that is not supported by the
 8      figures, show that a tine element is a          evidence on which Medtronic purports to
        structure, such as ‘a tine mounting band        rely.
 9
        175 or 175 ‘encircling the lead body,’
10      which also ‘comprises at least one              Axonics’ claim construction brief
        flexible, pliant, tine.’”                       described in passing one “embodiment”
11
                                                        described in the specification, “such as” a
12      Dkt. 111 at 8                                   “tine mounting band … encircling the
                                                        lead body.” Dkt. No. 111 at 4. But neither
13
                                                        Axonics nor the patent specification
14                                                      characterized an “encircling” tine element
15                                                      as anything more than an embodiment that
                                                        may be “preferred,” but is not required.
16                                                      See Dkt. No. 198-5, Ex. 5 (314 Patent) at
17                                                      10:42-47)(“In the depicted preferred
                                                        embodiments, the tine elements 125, 130,
18                                                      135 and 140 or 125′, 130′, 135′ and 140′
19                                                      preferably comprise a tine mounting band
                                                        175 or 175′ encircling the lead body...”).
20                                                      At claim construction, Medtronic never
21                                                      contended that “tine elements” should be
                                                        limited to a preferred embodiment, and in
22                                                      fact contended the opposite, scolding
23                                                      Axonics for “improper[ly]” seeking to
                                                        “limit the claims to only certain depicted
24                                                      embodiments.” Dkt. No. 115 at 6 (citing
25                                                      GE Lighting Sols., LLC v. AgiLight, Inc.,
                                                        750 F.3d 1304, 1309 (Fed. Cir. 2014)(“It
26                                                      is improper to read limitations from a
27                                                      preferred embodiment described in the
                                                        specification—even if it is the only
28
       AXONICS’ REPLY TO MEDTRONIC’S              119          Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                 Axonics’ Response
 2                                                is improper to read limitations from a
                                                  preferred embodiment described in the
 3                                                specification—even if it is the only
 4                                                embodiment. . . .”).
 5                                                To the extent that Medtronic contends Dr.
 6                                                Chai has any relevant expertise, Dr. Chai
                                                  is a physician who has never designed or
 7                                                developed an implantable medical lead for
 8                                                commercial use (Dkt. No. 360-2/Dkt. No.
                                                  395-1, Ex. 4 (1/8/2023 Chai Tr.) at 31:9-
 9                                                36:14), and could not answer basic
10                                                questions related to lead design and
                                                  development (id. at 59:1-69:15, 75:14-
11                                                82:10).
12
                                                  Immaterial to the resolution of Axonics’
13                                                motion to the extent Medtronic contends
14                                                Axonics’ expert lacks expertise.
15                                                 Undisputed that Medtronic’s expert
16                                                 offered his opinions under an
                                                   understanding that a POSITA would have
17                                                 “experience in sacral neuromodulation.”
18                                                 Dr. Chai quoted the PTAB’s POSITA
                                                   qualifications: “With these considerations,
19                                                 we find a POSITA would have had at
20                                                 least the following qualifications: (1) a
                                                   bachelor’s degree, or coursework
21                                                 equivalent, in biomedical engineering,
22                                                 electrical engineering, or mechanical
                                                   engineering, or a medical degree, and (2)
23                                                 at least two years of experience
24                                                 researching and developing medical leads
                                                   for sacral neuromodulation.” Dkt. 139-7, ¶
25                                                 22. Dr. Chai then confirmed that this was
26                                                 the level of ordinary skill he applied: “I
                                                   agree that this is the appropriate level of
27                                                 skill in the art and have applied this
28                                                 definition.” Id. Medtronic’s statement of
       AXONICS’ REPLY TO MEDTRONIC’S           122          Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                     Axonics’ Response
 2                                                   fact admits that this was the level of
                                                     ordinary skill applied by Medtronic’s
 3                                                   expert.
 4
                                                     When offering the opinion Medtronic
 5
                                                     quotes, Dr. Chai confirmed that the
 6                                                   POSITA definition he applied required
                                                     knowledge of sacral neuromodulation:
 7
                                                     “Rather, a POSITA with experience in
 8                                                   sacral neuromodulation would understand
                                                     that whether the tine elements are formed
 9
                                                     separately or as a single structure is not
10                                                   what is important to the invention. Rather,
                                                     a POSITA would understand the
11
                                                     important aspects of the plurality of tine
12                                                   elements is that there are multiple sets of
                                                     tines formed around the lead body to
13
                                                     provide fixation sufficient to engage the
14                                                   subcutaneous muscle tissue along a length
                                                     of the lead body, (see e.g., 756 patent, 6:4-
15
                                                     9, 6:26-30, 6:44-48, 9:61-10:6, 10:24-34,
16                                                   11:65-12:2, 12:8-32), and that those
                                                     multiple sets of tines are positioned
17
                                                     proximal to the electrode array to engage
18                                                   with the subcutaneous muscle tissue that
19                                                   keeps the distal electrodes in a specific
                                                     and fixed relationship to the sacral 3rd
20                                                   nerve (see e.g., 756 patent, 5:50-57, 7:20-
21                                                   35, 9:61-10:6, 11:55-12:4). Dr. Irazoqui
                                                     does not discuss these fixation
22                                                   considerations that are specific to the
23                                                   sacral anatomy, which a POSITA would
                                                     understand were important.” Dkt. 139-7, ¶
24                                                   24.
25
                                                     The Court of Appeals for the Federal
26                                                   Circuit rejected this POSITA definition
27                                                   for the 756 and 314 Patents, and explicitly
                                                     adopted a view of the art that does not
28
       AXONICS’ REPLY TO MEDTRONIC’S           123           Case No. 8:19-cv-02115-DOC-JDE
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 1        Medtronic Additional Material Fact                        Axonics’ Response
 2                                                      require knowledge specific to sacral
                                                        neuromodulation. Axonics, Inc. v.
 3                                                      Medtronic, Inc., 73 F.4th 950, 958-59
 4                                                      (Fed. Cir. 2023) (“[T]he Board erred in its
                                                        definition of ‘the relevant art’ as limited to
 5
                                                        medical leads for sacral-nerve
 6                                                      stimulation.”). As the CAFC determined,
                                                        the Board adopted an incorrect definition
 7
                                                        of the relevant art, which Dr. Chai
 8                                                      adopted.
 9
        139. Special Master found Axonics’              Disputed to the extent Medtronic contends
10      indefiniteness argument                         there remain factual issues that could
        “unpersuasive because the claim                 prevent summary judgment of
11
        language at issue is reasonably                 indefiniteness. Whatever factual disputes
12      clear” and this “pertains to factual            remained at the time of the Special
        disputes regarding infringement                 Master’s finding have been resolved by
13
        rather than any legal question for              the admissions of Medtronic’s expert that
14      claim construction.”                            persons of ordinary skill in the art could
15                                                      reasonably count different numbers of
        Dkt. 163-1 at 26–27.                            “tine elements” in the accused Axonics
16                                                      product, including finding three or four
17                                                      tine elements, under which the accused
                                                        product could infringe, and finding
18                                                      sixteen tine elements, under which the
19                                                      accused product would not infringe.

20                                                      See Dkt. No. 360-2/Dkt. No. 395-1, Ex. 4,
21                                                      Chai Dep. at 170:5-24 (testifying “another
                                                        person could look at it and say there
22                                                      would be 16 tine[] elements”). See also id.
23                                                      at 195:11-23 (testifying “people might
                                                        construe more than three based on the
24                                                      Special Master’s language and
25                                                      Medtronic’s common language
                                                        definition.”).
26      140. “The Special Master’s construction         Not a statement of fact supported by
27      does not specifically construe a single         evidence sufficient to create a genuine
        ‘tine element,” because the parties             dispute of material fact; rather this is a
28
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2      disputed only whether a “plurality of tine     lawyer argument and advancing a
        elements” may be “a single structure or []     conclusion that is not supported by the
 3      multiple structures,” not what constituted     evidence on which Medtronic purports to
 4      a single tine element, which both parties      rely.
        understood “encircles” or is “formed
 5
        around the lead body.”                         During claim construction, the parties
 6                                                     disputed what a “tine element” is, in
        Nisbet Decl., Ex. 18 (12/16/22 Pless           particular whether it must be a separate
 7
        Rept.) ¶87; Dkt. 163-1 at 27; Dkt. 111         “structure” from any other tine element.
 8      (Axonics’ Opening Claim Construction           Axonics contended that a “plurality of tine
        Brief) at 2–8; Dkt. 122 (Medtronic’s           elements” required two or more structures
 9
        Corrected Opening Claim Construction           (see, e.g., Dkt. No. 111 at 3). Medtronic
10      Brief) at 5–7.                                 disagreed, specifically insisting that
                                                       “element” meant “part of a whole” and
11
                                                       connoted no structure at all, in direct
12                                                     contradiction to the structural and
                                                       functional interpretation it has now
13
                                                       adopted to try to save the claims from
14                                                     invalidity. Dkt. No. 198-2 (Ex. 2 (Claim
                                                       Construction Hearing Transcript)) at
15
                                                       42:18-24. Medtronic’s argument that the
16                                                     parties did not address the meaning of
                                                       “tine element” in the singular, and the
17
                                                       Special Master did not construe “tine
18                                                     element,” rests on the false premise that
19                                                     the meaning of “tine element” is different
                                                       in connection with one “tine element”
20                                                     than it is in connection with a plurality of
21                                                     “tine elements.” That position defies
                                                       common sense. Reciting “two or more
22                                                     apples” does not change what an apple is;
23                                                     it is the same thing each time, whether
                                                       there is one, or more than one. It is also
24                                                     contrary to law. See, e.g., Dayco Prods. v.
25                                                     Total Containment, Inc., 258 F.3d 1317,
                                                       1327-28 (Fed. Cir. 2001)(plurality, “when
26                                                     used in a claim, refers to two or more
27                                                     items. . .”); York Prods., Inc. v. Cent.
                                                       Tractor Farm & Family Ctr., 99 F.3d
28
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 1        Medtronic Additional Material Fact                      Axonics’ Response
 2
                                                       Further disputed to the extent that
 3                                                     Medtronic contends Dr. Chai has any
 4                                                     relevant expertise. Dr. Chai is a physician
                                                       who has never designed or developed an
 5                                                     implantable medical lead for commercial
 6                                                     use (id. at 31:9-36:14) and could not
                                                       answer basic questions related to lead
 7                                                     design and development (id. at 59:1-
 8                                                     69:15, 75:14-82:10).
 9
10      143. In performing his analysis, Dr. Chai      Not a statement of fact supported by
        did not “impermissibly depart[] from the       evidence sufficient to create a genuine
11      Special Master’s construction,” but rather     dispute of material fact; rather this is a
12      “appl[ied] it in the most appropriate          lawyer argument advancing a conclusion
        fashion.”                                      that is not supported by the evidence on
13                                                     which Medtronic purports to rely. Dr.
14      Nisbet Decl., Ex. 19 1/8/2023 Chai Dep.        Chai admitted that he disregarded the
        Tr. at 138:3–139:4, 98:21–99:3, 101:6–         Special Master’s construction, which he
15      10, 104:7–22, 105:23–106:13, 107:3–14;         regarded as “just one sentence” that did
16      Dkt. 202-1, Chai Expert Report ⁋⁋70,           not restrict him because there “there are
        205–06, 285–86 (“My analysis is based          other important things to analyze.” Dkt.
17      on [the Special Master’s] construction.”)      No. 360-2/Dkt. No. 395-1 (Ex. 4 at
18                                                     194:18-195:3). In finding three tine
                                                       elements in the accused Axonics product,
19                                                     he discarded the Special Master’s
20                                                     construction of a tine “element” as “a part
                                                       of a whole” in favor of “the way I defined
21                                                     it” (id. at 128:2-129:3) which he “thought
22                                                     was more appropriate” (id. at 110:11-19)
                                                       than the claim construction.
23
24                                                      Dr. Chai confirmed he did not believe that
                                                        the Special Master’s construction of
25                                                      “plurality of tine elements” restricted his
26                                                      understanding of a single “tine element”
                                                        in any way, because the Special Master
27                                                      was “talking about [a] plurality of tine
28                                                      elements. I'm talking about a single tine
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 1     Dated: June 10, 2024               Respectfully submitted
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